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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

ERIC JACKSON, ALARIC STONE, and                       )
MICHAEL MARCANELLE, on behalf of                      )
themselves and all others similarly situated,         )
                                                      )       Case No. 4:22-cv-00825-P
                       Plaintiffs,                    )
v.                                                    )
                                                      )
ALEJANDRO N. MAYORKAS, in his official                )
capacity as Secretary of Homeland Security,           )
LLOYD J. AUSTIN, III, in his                          )
official capacity as Secretary of Defense,            )
LINDA L. FAGAN, in her official                       )
capacity as Commandant of the Coast Guard, and        )
BRIAN K. PENOYER, in his official capacity            )
as Assistant Commandant for Human                     )
Resources of the Coast Guard,                         )
                                                      )
                       Defendants.                    )


                               PLAINTIFFS’ STATUS REPORT

        Plaintiffs have conferred with Defendants (the “Coast Guard”) about threatened imminent

adverse actions against service members including but not limited to imminent discharge dates

and imminent dates of transfer to the Inactive Service List (“ISL”; “no-pay, no-points status”).

Plaintiffs hereby submit this status update, summarizing the Coast Guard’s resulting agreements

to date.1

           On September 23 and 26, 2022, the Coast Guard agreed to hold off on imminent

            discharge proceedings against Plaintiff Marcenelle, any other discharge proceedings

            against the named Plaintiffs, and imminent discharge proceedings against one specific



1
 The Coast Guard has so far not agreed to hold off on all imminent adverse actions against
putative class members. Plaintiffs reserve the right to seek additional relief from the Court if and
as appropriate and necessary.
                                                 1
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       putative class member, pending resolution of the motions for class-wide relief [Doc.

       4].

      On September 27 and 29, 2022, the Coast Guard agreed to defer the ISL transfer date

       to December 1, 2022 for four specific putative class member reservists who had been

       given a September 30 or October 1, 2022 ISL transfer date.

      Today, September 30, 2022, the Coast Guard agreed to defer the ISL transfer date to

       December 1, 2022 for all 122 putative class member reservists who had been given an

       October 1, 2022 ISL transfer date (not counting the four that Defendants previously

       agreed to defer). The identities of all of these 122 putative class members are

       unknown to Plaintiffs. The Coast Guard stated that, because of the timing of today’s

       agreement, some or all of those reservists may receive orders that they are in a no-

       pay, no-points status effective October 1, but that will be corrected by the end of next

       week to make clear that the transfer date has been changed to December 1.




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Dated: September 30, 2022

Respectfully submitted,

/s/ Adam S. Hochschild

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* pro hac vice application forthcoming

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